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                                                 (N ·OLERKS OFFICE·
•                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS
                                                10l9 tlEB~NPM 1: 27
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    =E-r.,...ic----,V,.,,..a_,,l_e_n..,..t-.-i_n_ _ _ _ _ _...,.U"""".s,-.~m-b
                                                                             Tf91CT     '#18-~v-124 3 9-Rwz ·.
    P e t 1' t '1.oner,                                         r'•F'>"fk'!Cl)QFU~'•'-~    ' '                 '
                                                                •h ~iq-t,; ) C'ftm'inal #18-cr-10041-RWZ.
    v.                                                        )    Honorable: Rya W. Zobel, USDJ.
    United States of America                                  ~    January@~~ 2019.
    (AUSA'S: John A. Wortmann, Jr.,                           )
    & Philip A. Mallard)                                      )
    Respondents.                                              )
    -----------
    PETITIONER: VALENTTN'S REPLY MOTTON 1N OPPOSITION TO RESPONDENTS
     RESPONSE DATED: .DECEM~ii 10, ~019,· & RESPONDENTS 2d RESPONSE
     DATED: DECEMBER 2t; 2019 USING VALENTIN'S VERY OWN AFFIDAVIT
                               IN SUPPORT


    Affidavit of Petitioner: Valentin, via: Fed.R.Civ.P. Rule 56(f)
                         states the following:
          [1]                            Procedural background
          On February 15, 2018, a federal grand jury sitting in Boston
    returned an indictment charging Valentin & two of his co-defendants
     with: 1. conspiracy to deal in firearms without a license (18 U.S.C.
                                 §371; and                        ·
    2. dealing in firearms without a license (18 U.S.C.§922(a)(1)(A)).
    Please note that the Respond~nts had a opportunity to indict Valentin
    for using a firearm in furtherance of a drug deal & or 18 U.S.C.
      §924(c) and in f~rtherance of violence 18 u .. S.C.§16(b) and did
    not.        However, the Government unlawfully constructively amended
    Valentin's indictment using the 18                            u.s.c.      §924(c) & 18 U.S.C.§16(b)
    residual clauses even-though-- Valentin was not indicted for it,
         Additionally please .note that the Respondents had within 14 days
     to hand over all exculpatory & impeachment material evidence over
     to Valentin within the meaning of Brady, Giles & Giglio as required

    by The United States District Court Local Rules Local Rule 1i6.1(A)(5)-
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     1990, & 42(a)(5) 1986, and intentionally· failed to do so. In-fact
     the Governmen t/Respon1en t~ admitted t.o this reversible legal error.
     See Government's/Respondent's Response dated: December 20th~ 2018,
 [2]* @page 3 U2, states in relevant part that:
     "Shortly after the (Valentin) Rule 11 hearing, the United States
       (Government/Respondents) provided a discovery memorandum that
     included all of the information required under the Local Rules at
                           28 days after indictment.''

[3] * See also page 15, U 2, states:
     "Finally, although the governll!,ent's discovery letter was several
                                  k 1ate, ·n ..... .
                                wees

[4] * See also page 15 last U, states:
                   "The Petitioner (Valentin)      pled guilty
         during an April 4 plea hearing that      he sought immediately
     following arraignment (and prior to the       time that any discovery
                      was due under our Local     Rules)."
[5] * See again page 16,   ~   2, states:
                                                       '
    "Because of the speed with which the (Valentin's) case went to plea,
         the government neglected to provide automatic discovery
                until 2 weeks after the Rule 11 Hearing."

[6] * See U2 lines 7-8, states:
     ''Hence, the information that Petitioner (Valentin) was entitled
    to after arraignment was provided to the defense, albeit slightly
                                      late,"

[7] *Seepage 16, bottom foot-note states:
       "No information was provided about CW-3 because CW-3 was not
                     expected to be a trial witness."
     Because Valentin believes that CW-3 was caught red handed committing
     perjury, when interviewed by the Government/Respondents and found
     also to be conducting criminal activity before, during & after this
     case proceedings, among other things. Hence, this discovery should
    have been handed over to Valentin and was not.
                                            2
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       [8]        The Government/Respondents in Valentin
 intentional suppression of evidence favorable to the-accused (Valentin)
      as admitted by the Government in pages ·3, 15, 16, supra also
             violated Valentin's Due Process as the evidence
                   is "material to guilt or- punishme~t."   ·

   Conley v. United States, 415 F.3d 183, 188 (1st Cir.2005)(citing
   Brady, 373 U.S. 87, 83 S.Ct. 1194). Valentin has shown that this
   materiality prong of the Supreme Court's Brady, Giles & Giglio
   inquiry has been met by Valentin and Valentin shown that:
     "there is a reasonable probability that, had the evidence been
   disclosed within the requiied 14 days of Valentin's arraignment &
    as required under the Local Rules of the United States District
 Court District of Massachusetts LCvR 116.1(A)(5) 1990 & LCvR 42(a)(5)
   1986, Valentin may have not plead guilty but may have elected to
                           go to a jury trial"
[9] The Government/Respondents committed egregious misconduct by failing
    to   & omitting core exculpatory material Brady, Giles & Giglio
   evidence within the meaning of Brady, Giles & Giglio within 14 days
   of Valentin's arraignment & handed some of the evidence over to
   Valentin--after Valentin plead guilty was clearly reversible legal
    error, was highly prejudicial, was not harmless error and prevented
    Valentin from making the choice of whether to plead guilty or to
    take this case to a jury trial requires this Court to take a second
    look and facilitate a meaningful evidentiary hearing and an Order
    of this Court to Order the Respondent's to compiy with its automatic
    obligation to hand over all exculpatory & impeachment material ev-
    idence over to Valentin including CW 3's FBI FD 302's & 209's with
    inserts, DEA 6's & DEA 7s, ATF reports & the Prosecutions notes are
    also discoverable. Hence, the result of the Valentin's proceeding
   would have been different, much more favorable to Valentin had the
    Government/Respondent's complied. Turner v. United States, 137 S,Ct.
    1885, 1893 (2017).
                                         3
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      [10] Government/Respondents stipulated that Valentin's
 presented Grounds Two Ineffective Assistance of co·unsel claims that
that the government failed to hand over all exculpator1 & impeachment>
  evidence over to Valentin within 14 days of Valentin s arraignment
             within the meaning of Brady; Giles &;·Giglio:           .

 As required under Fed.R.Crim.P. Rule 16, and.the Local Rules of
         ;
 the United States District Court District of Massachusetts Rules
                          \
 116.1(A)(S) 1990 & 42(a)(5) 1986. Not only failed to do so but also
                                                          1
 2 weeks after ~alentin signed his plea-agreement & plead guilty with-
 out a meaningful opportunity to review his discovery, so Valentin
 could decide whether to plead guilty or elect to go to a jury trial,
 was denied, which also denies due process.
    [11]    Government also stipulated that Valentin's
   Counsel was ineffective for not holding the goverrifuent to its
  automatic obligation to hand over all exculpatory & impeachment
              · material evidence over to Valentin                        \,

 Which in-effect violated Valentin's Rule 11 Plea & Plea Hearing
 depicted in Ground Three, which in turn violated Valentin's Ground
 Four: Minor, In-between, & or ·Minimal Role Participation arguments
 of    a 2, 3, & oi 4 offense level reductions.
      [12]         Valentin has demonstrated Prejudice
 Because of his lawyer's ineffective assistance of courisel & the
 Government's failure to comply with its automatic discovery obli-
 gations.    See supra.
      [13]       And demonstrated because of the delay:
      That there exists a reasonable probability that the result of
  the proceeding would have been different, had Valentin received
  the belated discovery earlier in a timely manner, he could have
  objected to it & or requested further discover~ & documents proving
  CW1, CW2 & CW3, was not credible, committed perjury & obst'ructed

  the administration of justice by conducting criminal activity before,
                                       4
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    during, and after Valentin's case, thus Valentin ·was prejudiced

    which resulted. in a due process viola~ion.
       [ 14]       The Government's suppression of evidence
               favorable to the act.used (Valentin) also violates
                                  Due Process:

    As the evidence is "material to guilt or punishment."Conley            v.   USA,
    415 F.3d 183, 188 (1st Cir.2005) (citing Brady, 373 U.S. 87, 83
    S.Ct. 1194) this materiality prong of the Brady/Giglio inquiry as
    Petitioner: Valentin has shown that "there is a reasonable probability·
    that, had the evidence been disclosed.within 14 days of Valentin's
~   plea-agreement, the result of the proceedings would have been
    different, much more favorable to the accused Valentin. Turner v.
    USA; 137    s.ct.   1885, 1893 (2017).
       [15]                    Valentin's
    Attorney: Sultan's failure to properly advise Valentin at his
                    '        Rule 11 hearing
    Was tainted because of the Government's failure to properly &
    timely comply with its automatic obligation to hand over discovery
    to Valentin prevented Valentin-from making a logical decision to
    Knowingly, Willfully & intelligently from making a logical decision
    to plead guilty or go to a jury trial.
       [16] Valentin's counsel was ineffective for failing to
     argue at sentencing &.on Direct·Appeal for his-- Minor, In-between & or
                    Minimal Role Participation ~eduction

    Of 2 levels, 3 levels & or for 4 levels--role participation reduct-
    ion supports Valentin's Ground Four argumint & is stipulated by
    the Government via: in it's. "Response" page 19, 11 1 s 4 in support.

                                         5
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  Tl 7]         Government once again' stipulated th~t:
          "Given all this attorneySultar:i, can hardly be faulted
             for not seeking a mitigating role adjustment!!

At-leas't, the Government did in-fact stipulate that Valentin's        l

Counsel was ineffective for not seeking a mitigating role adjustment.
See Government's Response page 20, ff2; in support.
                                                      i

   [18]          Government even supplys Valentin with
                         supportive case law:
USA v. Gallo-Lopez, 931 F.Supp. 196 (N.D.N.Y.1996)(Defense Counsel·
was not ineffective in failing to argue fo~ four-point role reduct-
ion, rather than for two-point reduction for his minor role parti-
cipation. In Valentin his counsel's failure to argue any mitigating
role reduction whether it was minor, in-~etween or minimal role
participation reduction, makes it highly prejudicial & not harmless
error, and a different circumstance than Gallo-Lopez,        case, in-fact
with that said Gallo-Lopez supports Valentin, because in Valentin
his counsel did not ask for any mitigating role adjustiment concern-
ing supra. See Government's Response Page 20, last ff's in support.
   Thus, Valentin was prejudiced & it was not harmless error. Addit-
itionally how would the government state with a straight face that
had Valentin's counsel seeked a Mitigating Role Adjustment downward
departure the Judge would have denied it is ludicrous that the gover-
nment could tell this court what it would do & or anybody else.
This false assertion is clearly & concededly not plausible as the
government's suggests that we believe that they are clairvoyant.
   [19]      Lastly the Government Constructively Amended
                        Valentin's Indictment

Wiih categorizing Valentin as a 18 U.S.C.§924(c) Defendant· by stating
in the Government's very own "Sentencing Memorandum" Document: 70,
pages 12, 14, & 15, stating that the guns were meant for ~iolence,
                                     6   J
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.
    And or would be used in violent acts & dr,ug deali-ng. The Court
    in error also committed reversible legal error by adopting and or
    taking into. consideration Government.' s "Sentenc·ing Memorandum"
    Document: 70, pages 12, 14, & 15. See Valentini.s Sentencing Document:

    76, pages 11, 21, & 26, in support. Which are not sentencing factors

    but core "element of a crime", as the Supreme Court has repeatedly
    stated:

       [20]             Memorandum of Law In Support
                     In Support of Valentin's Ground One

    Government unlawfully constructively amended Valentin's Indictment
    without due process of law. Because Valentin's conviction resulted
    from a guilty. plea, the following facts are taken largely from
    Valentin's Sentencing Trans~ripts Document: 76, pages 11, 21, & 26,
    and the Government's Sentencing Memorandum Document: 70, pages 12,
                                                                       /


    14, & 15. And its transcripts as well as Valentin's PSR, unless other-

    wise noted. See USA v. Connell, 960 F.2d 191, 192-93 (1st Cir.1992);
    USA v. Garcia, 954 F.2d 12, 14 (1st Cir.1992). Valentin's Counsel's
    failure to object and appeal supra, Government's Constructive Amend-
    ment to Valentin's indictment deeming & attributing Valentin a 924(~)
    charge as a "sentencing factor" are actually "elements of a crime"
    which should have been first presented in Valentin '.s indictment &
    second found proven beyond a reasonable doubt by a jury, judge,
    government & or probation Dep't and was not. Thus in violations of
    the indictment & notice clauses of the 5th & 6th Amendment's &
    supreme Court's Stirone case and as follows:
       [21]    Apprendi   v.   New Jersey, 530 U.S. 466, 67 CrL
                                 459 (2000) held:

    Facts that makes big variance must be found by a Jury NOT a sentencing
                                        7
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  judge. Substantive reasonableness is maximum sentence. The Sixth
  Amendment claim is based in the rule ~nnounced in ~pprendi v. New
  Jersey, 530 U.S; 466, 67 CrL 459 (2000), and its prog~ny held that:
   "Any fact that increases the statutory sentencing range must be
found by a jury beyond a .reasonable doubt, NOT by a sentencing-judge
        using the preponderance of the evidence low standard."

     [22]                 Alleyne concluded that:
      "Any fact, by law, increases the penalty for a crime is an
        "element" that must be submitted to the jury and found
                      beyond a reasonable doubt."
  Alleyne, 133 S.Ct. 2155 (citations omitted). Supreme Court's
  Alleyne decision is retroactive concerning Valentin's case. In Alleyne
  v. USA, 133 S.Ct. at 2155 (2013), the Supreme Court discussed the
  differences between the "elements of a crime" and a defendant's
  "sentencing factors" holding that any fact which increases the manda-
  tory minimum sentence for a crime is a core "element of that crime"
  which must be submitted to a jury and found beyond a reasonable
  doubt. 133 s.ct. 2151 (2013).
    [23]           Alleyne decision directly and
      explicitly over-rule Harris v. USA, 536 U.S. 545 (2002);
   and McMillan v. Pennsylvania, 477 U.S. 79 (1986) Rule of Law:
 Alleyne now out-lawed the preponderance of the evidence low standard
 of proof concerning "elements of a crime" must now be found proven
 beyond a reasonable doubt, mot by the mere preponderance of the evid-
  ence low standard of proof. Alleyne, 133 S.Ct. at 2155, Id. Alleyne,
  133 s.ct. at 2160.
     "and [w]hen a finding of fact alters the legally prescribed
 punishment as to aggrate it, the fact necessary forms a constituent
part of a new offense & must be submitted to the jury, NOT sentencing
       judge and found beyond a reasonable doubt.'' Id. at 2162.
     [24] Valentin's 6th Amendment Right to have a jury. judge, govern-
                   ·:.f
  ment & or probation Dep't to find beyond a reasonable doubt the essent-
  ial elements were denied specifically concerning his enhancements & or
                                      8
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"Constructive Amendment of Valentin's Indictment" was not first.
presented in Valentin's indictment & second not found pr9ven beyond
a reasonable doubt by a jury, judge, go~ernment & or probation Dep't,
are not sentencing factors but core "elements of a crime' 11 thus, the
District Court & Government committed reversible legal error, that
was not harmless & was highly prejudicial in violations of the 5th &
6th Amendments Indictment & Notice Clauses & Due Process as well as
                                                               ,
Valentin's--rig~t to have effective assistance of counsel. See O'Brien,
130 S.Ct. at 2174 (2009). The Supreme Court affirmed the First Cicuit
                                           -,
Court of Appeals logic and explained in O~Brien,
     The "elements of a crime" must be first presented in or
charged iri (Valentin's) indictment and proved to a jury "beyond a
                         reasonable doubt."
O_'Brien, 130 S~Ct. at 2174, (citing_ Hamling v. USA, 418 U.S. 87, 117,
94 S.Ct. 2887, 41 L.Ed.2d 590 (1974) & Jones v. USA, 526 U.S. 227,
232, 119 S.Ct. 1215, 143 L.Ed.2d 311 1999)).
   [25]             Jones v. USA, 526 U.S. 227 (1999)
The Supreme Court categorized separate offense must be deemed "elements
of a crime" and is NOT a sentencing factors, must be first charged
in Valentin's indictment and found proven beyond a reasonable doubt
by Valentin's jury, judge, government & or probation Dep't and was
not.
   [26]       Apprendi v. New Jersey, 530 U.S. 466 (2000)
   The Supreme Court held, what Jones, noted in 1999, under the
6th Amendment, any fact or a6t (other than prior convictions) that
expose a sentence in excess of the relevant statutory maximum must
be found by a jury, not judge and establish beyond a reasonable doubt,
not merely by a preponderance of the evidence. Apprendi, at 490.
See also Cunningham v. California, 549 U.S. 270 (2007).
                                       9
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     [27]         Ring v. Arizona, 536 U.S. 584 (2002):
 The Supreme Court stated:
     "If a state makes an increase in a defendant's (Valentin's)_
   authorized punishment contingent on the findini of a fact, that
   fact no matter how the state labels it, must be found by a jury
    beyond a reasonable doubt ... a defendant (Valentin) may not be
 expose[d] ... to a penalty exceeding the maximum he would receive if
punished according to the facts reflected in. the jury verdict alone.''
 Ring, ~t 602. Justice Scalia & Justice Thomas concurred with Justice
  Ginsburg, stated in relevant part that:
  "I believe the fundamental meaning of the jury trial guarantee of
  the Sixth Amendment is "that all facts essential to imposition of-
    the level of punishment that the Defendant (Valentin) receives
  whether the statute calls them elements of a crime or sentencing
                   factors, or Ma-ry Jane must be found        --
                by the Jury, beyond a reasonable doubt."
  Ring, at 610.
     [28]     Blakely v. Washington, 542 U.S. 296 (2004):
  Justice Scalia expounded on the above and distinguished with clarity,
  however that the statutory maximum for Apprendi purposes is ·the
  maximum sentence a judge may impose soley on the basis of the facts
  refle~ted in the jury verdict Of admitted by the defendant.
      [29]   United States v. Booker, 543 U.S. 220 (2005):
  The Supreme Court affirmed its holding in Apprendi, stating:
    "Any fact (other than prior conviction) which is necessary to
  support a sentence exceeding the maximum _authorized by the facts
 established by a plea of guilty or a jury verdict, must be admitted
       by the defendant or, proved beyond a reasonable doubt.''
  Booker, 543 U.S. 224.
      [30]   Cunningham v. California, 549 U.S. 270 (2007):
  The Supreme Court has repeatedly held that under the Sixth Amendment
  Any fact that exposes a defendant (Valentin) to a greater ,potential
  sentence, must be found by a jury, NOT judge and establish~d beyond
  a reasonable doubt, not merely by a preponderance of the evidence."
  Cunningham, _at 863.
                                  10
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   [31]   Sullivan v. Louisiana, 508 U.S. 275, 133 S.Ct.
   2068, 124 L.Ed.2d 182 (1993) & In re Winship, 397 U.S. 358,
         36J, 90 s.ct. 1068, 25 L.Ed.2d 386 (1970) Held:
The pleading requirement which held "the indicement must contain
an allegation of every fact which is legally essentia.l to punishment
to be inflicted." USA v. Reese, 92 U.S. 214, 231-33, 23 L.Ed.2d
565 (1875).
   [.32]      Hope v. Commonwealth, 50 Mass 134, 9 Mete
                            134 (1845):
The Supreme Court Justice Thomas, detailing practices of American
Courts from the 1840's onward the Defendant was indicted for (and
convicted of) larceny, the larceny statute established two levels
of sentencing based on whether the value of the stolen property
exceeded $100.00. Because punishment varied with the value, the state
high Court found that value was an element of the defense & should
have been ,first stated iri (Valentin's) indictment. See (18 U.S.C,
§924(c) government's constructive amendment to Valentin's indictment).
Id at 137.
   [3   3J
        1
                Ritchey v. State, 7 Blackf, 168, 169
                       ·.   (Ind. 1844):
Numerous other contemporaneous Courts decisions reflected this same
understanding, (holding that indictment for Arson must allege value
of property destroyed because statute set punishment based on value).
   [34]          United States v. Fisher, 25 F.Cas.
                        1086 (CC Ohio 1849)
(Mclean, J.) ("A carrier of the mail is subject to higher penalty
                                    (


where he steals a letter out of the mail, which contains an article
of value. And when this offense is committed, the indictment must
allege the letter contained an article of value, which aggravates
the offense and incurs a higher penalty"). A number of contemperan-
eous treaties similarly took the view that "a fact that increased
                                    11
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punishment must be charged in the indictm~nt~''       As seen in Val~ntin

supra.   As one 19th Century commentator explained: ''Where a statute

annexes a higher degree of punishment to a common law felony,           if

committed under particular circumstances,      & indictment for the off-
ense in order to bring the defendant (Valentin) within that higher

degree of punishment must expressly charge it to have been committed

under those circumstanced in the indictment [133 S.Ct, 2160], with

certainty and precision."     [Hale Please of the crown *170] Archbold,

51 (15th Ed. 1862).

   [35] USA v. Pleasant, U.S. Dist. Ct. E.D.VA/Richmond, 125 F.Supp.

2d 173, 2000 U.S. Dist. LEXIS 18966, criminal #00-cr-71, decided

Dec. 18, 2000; USA v. Floresca, 38 F.3d 706, 710 (4th Cir. 1994).

The Fourth Circuit stating enbanc changed course & held that changes

of that sort constituted a "Constructive Amendment to (Valentin's)

Indictment."    According to the 4th Circuit, the District Courts mis-

instruction in Floresca resulted in an amendment to the indictment.

Id. at 710.    As seen in Valentin, supra.

   [36] See also Ninth Circuit vacates conviction based on "Constr-

uctive Amendment of Indictment," in USA v. Ricky Davis,        #15-10402.

May 2017 (9thCir. 2017).

   [37] USA v. Khalil, #15-3819-cr (2nd Cir. May 16, 2017) The District

Court constructively amended the indictment is unconstitutional, as

seen in Valentin, supra.

   [38] According to Mathis v. USA, #15-6092 (S,Ct.) decided June 23,

2016 held: "That elements of a cri~e which m~st be proved beyond a

reasonable doubt to sustain a conviction."       Hence, the government



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constructively amended Valentin's indictment using a 924(c)

categorization that are core "elements of a crime," were not

presented in Valentin's indictment & riot found proven beyond a

reasonable doubt by a jury, Judg~, government &/or U.S. Probation

Office are not "Sentencing Factors" but core "Elements of a Crime,"

thus, the Court committed reversible legal error, that was not

harmless, was highly prejudicial in violations of the 5th & 6th

Amendments Indictment & Notice clauses & Due Process, as well as

the Sixth Amendment's Jury Trial Right to have effective assistance

of counsel, and requires a second look.

           Valentin's indictment does not comport with the basic Due

Process requirements [of] notice of the time,         place, and essential

elements of the crime that the government constructively amended

Valentin's indictment with a 18 U.S.C. §924 (c) charge, see govern-

ment's sentencing memorandum Document 76, pages 11, 21, & 26 in

support     See Bonilla v. Lee, 35 F.Supp.3d 551, 579 (S.D.NY 2014).

           Under Rule 7, an indictment must provide "A plain, concise,

and definite written statement of the essential facts constituting

the offense
        '
            924(c) charied in gov~rnment's sentencing memorandum,
                                           .   .




Document:76, pages 11, 21, & 26.          Fed.R.Crim.P. Rule 7(c)(l)

Government's failure to notify Valentin of the 924(c) charge, its

nature of the accusation against him to apprise him of the facts

alleged.     See Russell v. USA,   369 U.S. 749, 765 (1962); USA v. Ser~no,

835 F.2d 924, 929 (1st Cir. 987)(quoting Hamling v. USA, 418 U.S.

87, 117 (1974)).




                                     13
                         f.f

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     [39]               Grounds One, Two, Three & Four
                   Discovery violations are inex~riculably
                   articulably intertwined with each other.

The government's violated statutory Fed.R.Crim.P. Rule 16, Rule 12/

Fe d . R . Cr i m. P . 1 6J b )( 1 )( c ) , F e d . R • Cr i m. P . Ru 1 e 16 ( d )( 1 ) ( c ) ; 1 6 ( a ) ,

16(a)(l)(b); Fed.R.Evid.Rules 702, 703 & 705; Fed.R.Crim.P. Rule

12(b)(4) within the meaning of Brady, Giles,                               & Giglio, the govern-
ment had 14 days to hand over all of the above specifically described

supra evidence within 14 days of Valentin's arraignment which is ex-

culpatory & impeachment evidence over to Valentin, as required also

under Local Rules of the U.S. D.Ct. D.Mass/Boston via: LCR 116.1 (A)(5)

(1990), 42(a)(5) 1986, & failed to do so concerning Valentin.                                            See   '

USA v. Richmond 153 FRD 7 (D.Mass.1994); Ferrara v. USA, U.S. Court of

Appeals for ihe First Circuit, 459 F.3d 278, 2007 U.S. App. LEXIS

20539,f05-1736, #05-1830, #05-1874 8/10/2006, page 4.

            Valentin has established a ~laim (Grounds 1, 2, 3 & 4) of

ineffective assistance of counsel,                        & has shown that "his counsel made
errors so serious that his counsel was not functioning as the 'counsel'

guaranteed the defendant (Valentin) by the Sixth Amendment.                                          Strickland

v. Washington, 466 U.S. 668, 687 (1984).                             "The essence of an ineffective

assistance claim .is that counsel's unprofessional errors so upset the

adversarial balance between defense & prosecution that the trial was

rendered unfair & the vetdict rendered suspect.''                                 USA v. De La Cruz,

514 F.3d 121, 140 (1st Cir.2008).                         (internal citations omitted).

Valentin has proven two elements to his ine.ffective assistance of

counsel claim: (1) That his counsel's performance was deficient; and

(2) Resulting in prejudice; Peralta v. USA, 597 F.3d 74, 79

(1st Cir.2010) (citing Strickland, 466 U.S. at 687).



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   [40]                       Conclusion

   WHEREFORE, for all of the above specifically stated reasons

Petitioner: Valentin most respectfully requests:the fcillowing

relief from this Honorable Court:

   Deny, Government/Respondent's Motion to Dismiss;

   Deem, Valentin's counsel as ineffective;

   Deem,   the Government unlawfully "Constructively Amended Valentin's

indictment by   categorizing Valentin as a 924(c) charge according to

Government's Sentencing Memorandum Document: 76, pages 11, 21, & 26

and this Court's Sentencing of Valentin, Document: 70,        p~ges 11, 21,

and 26;

   Deem, Valentin's counsel as ineffective for failing to argue mit-

igating factors minor or minimal role participation retluctions;

   Order, Valentin's Ground One be placed in abeyance until the

Supreme Court decides Davis concerning application of Johnson I,

Johnson II, & DiMaya, deeming 924(c) as unconstitutionally vague;

   Deem,   Government's/this Court's Rule 11 Plea as invalid because

Valentin had not been afforded to review his discovery to decide

whether to plead guilty &/or elect to go to trial;

   Order, as an alternative,    a new plea agreement under Fed.R.Crim.P.

Rule 11-C-1-C plea to time served, and a 1 year supervised release.



   The above requests is to further the administration of Justice.




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              Signed under 28 U.S.C. §1746 under
             penal ties of perjury the abo,ve & the·
       following to be true, correct, & complete. Pro-sea


                    Respectfully Submitted By
                       Petitioner/Affiant:


                       ~JJJ/4
                            Eric Valentin
                              00731-138
                             FCI Fort Dix
                            P.O. Box 2000
                            Joint Base MDL
                         Fort Dix, New Jersey
                                08640


                       Certificate of Service


   I, Petitioner: Valentin, hereby certify that this Reply Motion
was sent via United States Mail/Postage Prepaid on this 28th day of
January, 2019, to the following:


  ·Clerk of Courts                       AUSA's: Wortman & Mallard
   Suite 2300                            USAO/D.Mass
   U.S. District Court                   Boston
   U.S. Courthouse                       Suite 9200, 9th Floor
   One Courthouse Way                    One Courthouse Way
   Boston, MA                            Boston, MA
   02210                                 02210



                      ~dr   Eric Valentin




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